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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

                                                                           ECF CASE
 STEVEN E. GREER, MD,

                                  Plaintiff,                          CIVIL ACTION NO.
                                                                       15 CV 6119 (AJN)
         -against-
                                                                   AFFIDAVIT OF CORY
 DENNIS MEHIEL, ROBERT SERPICO, THE                                   TEUSCHLER
 BATTERY PARK CITY AUTHORITY, HOWARD
 MILSTEIN, STEVEN ROSSI, JANET MARTIN,
 MILFORD MANAGEMENT, and MARINERS COVE
 SITE B ASSOCIATES,

                                  Defendants.

STATE OF NEW YORK  )
                   ) SS.:
COUNTY OF NEW YORK )

                Cory Teuschler, being duly sworn, deposes and says:

                1.        I am Director of Information Technology (“IT”) for defendant Milford

Management Corp. (“Milford”), agent for defendant Mariners Cove Site B Associates

(“MCSBA”), the Sponsor and owner of certain units in the building located at 200 Rector Place,

New York, New York 10280 (the “Building”) in which pro se plaintiff Dr. Steven Greer

(“Plaintiff”) rented apartment 35F (the “Premises”). As such, I am fully familiar with the facts set

forth below.

                2.        This affidavit is made pursuant to the Court’s May 19, 2017 Order (Dkt.

No. 345) requiring that an IT professional describe “how the Landlord Defendants’ server is

maintained, any changes that have occurred with respect to the server (in particular, any migration

of data), and the methods that the Landlord Defendants have used to respond to Plaintiff’s

discovery requests regarding emails and documents held on the server.”




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                 3.       I am the senior-most information technology employee at Milford. I have

worked in the IT field for twenty years.

                 4.       I began working at Milford on or around March 3, 2017.

                 5.       In connection with the requests for documents served by Plaintiff in this

action, I searched for the following search terms in Landlord Defendants’ Barracuda Networks

Message Archiver appliance (“Server”) using Barracuda Networks’ search tool titled “archive

search” (the “Search”):

                          (a)      Greer

                          (b)      35F

                          (c)      *batterypark.tv

                          (d)      *hcc.tv

                 6.       The “*” symbol is a “wildcard” symbol.

                 7.       The Search I performed searched all emails1 on the Server.

                 8.       I did not restrict the date on the Search. The Search returned results from

2005 through 2017.

                 9.       I subsequently learned that (i) Plaintiff produced approximately 40 emails

from Loraine Doyle that were not retrieved by the Search; (ii) Plaintiff produced approximately

50 emails from Mr. Rossi that were not retrieved by the Search; and (iii) defendants Robert Serpico

and Battery Park City Authority (collectively “BPCA Defendants”) produced two emails between

Mr. Rossi and Mr. Serpico that were not retrieved by the Search.

                 10.      As a result, I reviewed my initial Search to insure that I had not missed

responsive emails, and I concluded that the missing emails are not in the possession of the Landlord


1
  At all relevant times, Landlord Defendants used a Microsoft Exchange server environment, thus all email files are
stored as ‘.ost’, ‘.msg’ or ‘.pst’ files.

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Defendants, as set forth below.

The Server

                11.       The Server was manufactured by a company known as Barracuda

Networks.

                12.       Below is a description of the Server from the website of the manufacturer:

                          Barracuda Message Archiver is a cloud-integrated
                          message archiving solution that is easy to deploy and
                          manage. It dramatically reduces your email storage
                          requirements while boosting user productivity. And
                          it makes regulatory and e-discovery compliance
                          practically effortless.

                          With Barracuda Message Archiver, all users can
                          instantly access, search, retrieve, and export archived
                          messages using any device, whether on-site or on the
                          go.

                          Barracuda Message Archiver integrates with all
                          standards-based email servers, and with cloud email
                          services such as Office 365 and Gmail.

See https://www.barracuda.com/products/messagearchiver.

                13.       The Server is maintained by me and Milford’s IT staff, which I manage.

                14.       The server preserves all emails sent and received from all of the internet

domains registered and/or managed by Landlord Defendants in the Microsoft Exchange

environment, including ‘milfordmgmt.com.’

                15.       While the space on the Server is finite, the Server has not yet reached its

capacity, and still stores all of the data that it contained on the first day it was installed.

The Missing Emails Can Not Be Retrieved By Landlord Defendants

                16.       At the time I performed the Search, I had only worked at Milford for

approximately one week.

                17.       After I learned that the Search did not produce all the documents believed

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to exist, I investigated the history of the Server.

                18.       I found that the Server was installed in the fourth quarter of 2014 and that,

at the time the Server was installed, then existing emails were backed up by having IT employees

create a .pst file of existing emails and uploading same to the Server. As such, any emails not

found on the Server would have to have been deleted prior to the end of 2014.

                19.       I also spoke with Emanuel Ignacio, a network system administrator who

currently works for Milford and has worked at Milford for approximately fourteen years. Mr.

Ignacio informed me that the method of preservation prior to the installation of the Server was the

use of back-up tapes. However, the back-up tapes only store approximately nine months of email,

thus no additional responsive emails reside on the back-up tapes.

                20.       I also conducted a search of Mr. Rossi’s computer and investigated whether

Milford retained Ms. Doyle’s computer after her retirement in May 2014.

                21.       I searched Mr. Rossi’s current computer and found no emails from prior to

January 2017, when he was issued a new computer due to performance issues. I also examined an

“image” (i.e. a copy) that had been made of Mr. Rossi’s old computer’s emails.

                22.       I performed a search for the same search terms as used in the Search, with

the same parameters, on the image of Mr. Rossi’s computer and did not find any of the allegedly

missing documents, although the subsequent search did produce four additional documents that I

understand were produced to Plaintiff.

                23.       Ms. Doyle retired in May 2014, several months before the Server was

installed. I asked Mr. Ignacio what Milford did with its computers in 2014 when an employee left.

Mr. Ignacio stated that the procedure was to make an “image” of the emails as a .pst file and save

the image on a certain local computer and then format the hard drive of the computer of the former



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      employee, reinstall relevant software, and redistribute the computer when appropriate. Mr. Ignacio

      told me that the local computer that held .pst tiles of former employees is no longer in service, and

      was phased out after the Server was installed. However, I located a .pst file labeled with Ms.

      Doyle's name on the Server, which contains emails from and to her, which I confirmed by looking

      through the .pst filed saved to the Server. These documents had already been gathered as part of

      the Search.

                       24.      I have exhausted all available steps to ensure that the Landlord Defendants

      have produced all required, relevant documents in their possession.




     Sworn to before me this
    I / day of ff/9      ,2017

                    411-04,
     Notary Public
    VINCENT ROOPCHAND
 Notary Public, State of New York
       No. 01R06291395
   Qualified In Queens County
Commission Expires Oct. 15, 2017




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